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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

ABERDEEN DIVISION
WILLIE EARL CURRY PLAINTIFF
v. No. 1:22CV134-GHD-JMV
WARDEN JOSH DAVIS, ET AL. DEFENDANTS

ORDER RESTRICTING DOCUMENTS
TO THE COURT AND PARTIES ONLY

As the instant petition [1] for a writ of habeas corpus and supporting documents [13], [14]
(found in the petitioner’s response to a show-cause order) contain sensitive information, the Clerk of

the Court is DIRECTED to restrict access to these documents to the court and parties only.

SO ORDERED, this, the 13th day of December, 2022.

SENIOR JUDGE

